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                    CASE 0:23-cv-03514-JRT-SGE               Doc. 87     Filed 11/13/24   Page 1 of 2




                                           UNITED STATES DISTRICT COURT
                                              DISTRICT OF MINNESOTA


             THE ESTATE OF GENE B. LOKKEN,                             Civil File No. 23-cv-3514-JRT/SGE
             GLENNETTE KELL, DARLENE
             BUCKNER, CAROL CLEMENS, FRANK
             CHESTER PERRY, THE ESTATE OF
             JACKIE MARTIN, JOHN J. WILLIAMS,
             AS TRUSTEE OF THE MILES AND
             CAROLYN WILLIAMS 1993 FAMILY
             TRUST, and WILLIAM HULL,
             individually and on behalf of all others
             similarly situated,

                             Plaintiffs,

             vs.

             UNITEDHEALTH GROUP, INC.,
             UNITED HEALTHCARE, INC.,
             NAVIHEALTH, INC. and Does 1-50,
             inclusive,

                     Defendants.


                                       DECLARATION OF MARY MARFISEE

            I, Mary Marfisee, declare as follows:

                    1.       I am over the age of 18 years. I have personal knowledge of the facts

            contained in this declaration, and if called as a witness I could and would testify

            competently to the truth of the facts stated herein.

                    2.       I am the wife of Frank Chester Perry, who died on September 7, 2024, in Salt

            Lake City, Utah.

                    3.       At the time of Mr. Perry’s death, he was domiciled in Los Angeles,
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                      CASE 0:23-cv-03514-JRT-SGE             Doc. 87   Filed 11/13/24   Page 2 of 2




            California.

                      4.     No proceeding is now pending in California for administration of Mr. Perry’s

            estate.

                      5.     Mr. Perry left a duly executed and witnessed Last Will and Testament dated

            November 3, 2023, naming me as personal representative of his estate.

                      6.     I am Mr. Perry’s successor in interest as defined in Section 377.11 of the

            California Code of Civil Procedure, and I succeed Mr. Perry’s interest in this action.

                      7.     No other person has a superior right to be substituted for Mr. Perry in the

            pending action or proceeding.

                      I declare under penalty of perjury under the laws of the United States of America

            that the foregoing is true and correct.



                                 9
            Executed on October _____,          Los Angeles
                                       2024, in ___________________, California.



                                                                       _____________________________
                                                                       Mary Marfisee
